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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   PATRIK GUSTAVSSON,
                                                           No.: 2:20-mc-00111 RSL
10                  Non-Party,                             Northern District of Illinois Case No:
                                                           1:19-cv-02170 (Consolidated)
11      v.
                                                           PATRIK GUSTAVSSON’S
12   PLAINTIFFS IN IN RE: ETHIOPIAN                        MOTION TO SEAL
     AIRLINES FLIGHT ET 302 CRASH,
13

14                                                         Note on Motion Calendar: December
                                                           18, 2020
15

16           Pursuant to W.D. Wash. Local Rule LCR 5(g), Patrik Gustavsson hereby moves for a
17   protective order sealing the following documents filed by Mr. Gustavsson in this matter:
18           1. The Memorandum of Law in Support of This Motion;
19           2. The Motion to Quash or Modify;
20           Mr. Gustavsson further respectfully requests that all subsequent filings in this case adhere
21   to the requirements of the proposed order to seal. In the event that Mr. Gustavsson’s request to
22   seal is denied, Mr. Gustavsson requests that the court return the instant filings.
23

24           Respectfully submitted.
25           DATED this 7th day of December, 2020.
26



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